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                             EXHIBIT A

                             PART 4 OF 6
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LDEQ, a written Statement of Position regarding the matter in dispute. The Statement of

Position must include, but need not be limited to, any factual data, analysis, or opinion

supporting the Applicable Defendant' s(s') position and any supporting documentation relied

upon by the Applicable Defendant(s).

       92.    The United States, after consultation with LDEQ for the Hahnville and

Plaquemine Facilities, must serve its Statement of Position within forty-five Days ofreceiving

the Applicable Defendant's(s') Statement of Position. The United States' Statement of Position

must include, but need not be limited to, any factual data, analysis, or opinion supporting that

position and any supporting documentation relied upon by the United States. The United States'

Statement of Position will be binding on the Applicable Defendant(s), unless the Applicable

Defendant(s) files(file) a motion for judicial review of the dispute in accordance with the

following Paragraph.

       93.    The Applicable Defendant( s) may seek judicial review of the dispute by filing

with the Court and serving on the United States and, with respect to the Hahnville and

Plaquemine Facilities, LDEQ, in accordance with Section XVII (Notices), a motion requesting

judicial resolution of the dispute. The motion must be filed within forty-five Days ofreceiving

the United States' Statement of Position pursuant to the preceding Paragraph. The motion must

contain a written statement of the Applicable Defendant's(s') position on the matter in dispute,

including any supporting factual data, analysis, opinion, or documentation, and must set forth

the relief requested and any schedule within which the dispute must be resolved for orderly

implementation of the Decree.

       94.    The United States will respond to the Applicable Defendant's(s') motion within

the time period allowed by the Local Rules of this Court. LDEQ may participate for the


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Hahnville and Plaquemine Facilities. The Applicable Defendant(s) may file a reply

memorandum, to the extent permitted by the Local Rules.

       95.     Standard of Review. In a formal dispute resolution proceeding under this Section,

the Applicable Defendant(s) bear(s) the burden of demonstrating that its(their) position

complies with this Consent Decree and the CAA, and that they are entitled to relief under

applicable principles oflaw. The United States, after consultation with LDEQ for the Hahnville

and Plaquemine Facilities, reserves the right to argue that its position is reviewable only on the

administrative record and must be upheld unless arbitrary and capricious or otherwise not in

accordance with law, and the Applicable Defendant(s) reserve(s) the right to argue to the

contrary. An administrative record of the dispute will be maintained by EPA and will contain all

Statements of Position, including supporting documentation. Upon written request from the

Applicable Defendant(s), EPA will provide a copy of the administrative record. Where

appropriate, EPA may allow submission of supplemental statements of position by the parties to

the dispute.

       96.     The invocation of dispute resolution procedures under this Section will not, by

itself, extend, postpone, or affect in any way any obligation of the Applicable Defendant(s)

under this Consent Decree, unless and until final resolution of the dispute so provides.

Stipulated penalties with respect to the disputed matter will accrue from the first Day of

noncompliance, but payment may be stayed pending resolution of the dispute as provided in

Paragraph 79. If the Applicable Defendant(s) does(do) not prevail on the disputed issue,

stipulated penalties will be assessed and paid as provided in Section X (Stipulated Penalties).




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                    XIII. INFORMATION COLLECTION AND RETENTION

        97.   The United States, and LDEQ for the Hahnville and Plaquemine Facilities, and

their representatives, contractors, and consultants, have the right of entry into any facility

covered by this Consent Decree, at all reasonable times, upon presentation of credentials, to:

               a.     monitor the progress of activities required under this Consent Decree;

              b.      verify any data or information submitted to the United States or LDEQ in
                      accordance with the terms of this Consent Decree;

              c.      obtain documentary evidence, including photographs and similar data; and

              d.      assess the Applicable Defendant's(s') compliance with this Consent
                      Decree.

        98.   Upon request, the Applicable Defendant(s) must provide EPA, and LDEQ for the

Hahnville and Plaquemine Facilities, or their authorized representatives, splits of any samples

taken by the Applicable Defendant(s). Upon request, EPA and LDEQ must provide the

Applicable Defendant(s) split(s) of any samples taken by EPA or LDEQ.

       99.    Notwithstanding Section XXI (Termination), and except for data recorded by any

video camera required pursuant to Paragraph 22, until three years after the termination of this

Consent Decree, the Applicable Defendant(s) must retain, and must instruct their contractors

and agents to preserve, all non-identical copies of all documents, records, or other information

(including documents, records, or other information in electronic form) in their or their

contractors' or agents' possession or control, or that come into their or their contractors' or

agents' possession or control, and that relate to Applicable Defendant's(s') performance of its

obligations under this Consent Decree. This information-retention requirement applies

regardless of any contrary corporate or institutional policies or procedures. At any time during

this information-retention period, upon request by the United States, or LDEQ for the Hahnville


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and Plaquemine Facilities, the Applicable Defendant(s) must provide copies of any documents,

records, or other information required to be maintained under this Paragraph. The Applicable

Defendant(s) must retain the data recorded by the video cameras required pursuant to Paragraph

22 for one year from the date of recording.

        100.   Except for emissions data, the Applicable Defendant(s) may also assert that

information required to be provided under this Section is protected as Confidential Business

Information (CBI) under 40 C.F.R. Part 2. As to any information that the Applicable

Defendant(s) seek(s) to protect as CBI, the Applicable Defendant(s) must follow the procedures

set forth in 40 C.F.R. Part 2. To assert that any information required to be submitted to LDEQ is

entitled to be protected as confidential, the Applicable Defendant(s) must follow the law and

procedures as set forth in the applicable provisions of La. R.S. 30:2030; La. R.S. 30:2074.D;

and LAC 33:1.Chapter 5.

        101.   This Consent Decree in no way limits or affects any right of entry and inspection,

or any right to obtain information, held by the United States or LDEQ pursuant to applicable

federal or state laws, regulations, or permits, nor does it limit or affect any duty or obligation of

the Applicable Defendant(s) to maintain documents, records, or other information imposed by

applicable federal or state laws, regulations, or permits.

               XIV. EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

        102.   Definitions. For purposes of this Section XIV, the following definitions apply:

               a.     BTU/scf Flared Gas Requirements means the requirements found in the
                      following regulations:

                              (1)     40 C.F.R. § 60.18(c)(3)(ii);

                              (2)     40 C.F.R. § 63.l l(b)(6)(ii); and



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                    (3)    The provisions of 40 C.F.R. Part 60, 61, and 63 that require
                           compliance with 40 C.F.R. § 60.18(c)(3)(ii) (for example
                           40 C.F.R. § 61.349(a)(2)(iii)) or 40 C.F.R. § 63.1 l(b)(6)(ii)
                           (for example 40 C.F.R. § 63.113(a)(l)(i)) and are
                           applicable requirements in a federally enforceable permit
                           for a Covered Facility as of the Effective Date.

        b.   General Flare Requirements means the requirements found in the
             following regulations:

                    (1)    40 C.F.R. § 60.18(c)(l) and 40 C.F.R. § 63.1 l(b)(4) (both
                           relate to a prohibition on Visible Emissions);

                    (2)    40 C.F.R. § 60.18(c)(2) and 40 C.F.R. § 63.1 l(b)(5) (both
                           relate to flame presence);

                    (3)    40 C.F.R. § 60.18(c)(4) and 40 C.F.R. § 63.1 l(b)(7) (both
                           relate to exit velocity requirements for Steam-Assisted
                           Flares); and

                    (4)    40 C.F.R. § 60.18(e) and 40 C.F.R. § 63.1 l(b)(3) (both
                           relate to operation during emissions venting).

        c.   Good Air Pollution Control Practice Requirements means the
             requirements found in the following regulations:

                    (1)    40 C.F.R. § 60.1 l(d);

                    (2)   40 C.F.R. § 61.12(c); and

                    (3)   40 C.F.R. § 63.6(e)(l)(i).

        d.   PSDINNSR Requirements means the Prevention of Significant
             Deterioration and Non-Attainment New Source Review requirements
             found in the following:

                    (1)   42 U.S.C. § 7475;

                    (2)   40 C.F.R. §§ 52.21(a)(2)(iii) and 52.21(j)-52.21(r)(5);

                    (3)   42 U.S.C. §§ 7502(c)(5) and 7503(a-(c);

                    (4)   40 C.F.R. Part 51, Appendix S, Part IV, Conditions 1-4;

                   (5)    any applicable, federally enforceable state or local
                          regulation that implements, adopts, or incorporates the
                          federal provisions cited in sub-Paragraphs 102.d(l)-(4); and

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                              (6)    any applicable Title V permit requirement that implements,
                                     adopts, or incorporates the federal provisions or federally
                                     enforceable state provisions cited in sub-Paragraphs
                                     102.d(l)-(5).

               e.     Requirements Related to Monitoring, Operation, and Maintenance
                      According to Flare Design means the requirements found in the following
                      regulations:

                              (1)    40 C.F.R. § 60.18(d);

                              (2)    40 C.F.R. § 63.1 l(b)(l); and

                              (3)    The provisions of 40 C.F.R. Part 60, 61, and 63 that require
                                     compliance with 40 C.F.R. § 60.18(d) (for example 40
                                     C.F.R. § 61.349(a)(2)(iii)) or 40 C.F.R. § 63.1 l(b)(l) (for
                                     example 40 C.F.R. § 63.l 13(a)(l)(i)) and are applicable
                                     requirements in a federally enforceable permit for a
                                     Covered Facility as of the Effective Date.

       103.    Entry of this Consent Decree resolves the civil claims of the United States and

LDEQ for the violations alleged in the Complaint filed in this action and occurring through the

Date of Lodging, and as noted below.

       I 04.   Resolution of Claims for Violating PSD/NNSR Requirements at the Covered

Flares. With respect to emissions ofVOCs, NOx, and CO from the Covered Flares, entry of this

Consent Decree resolves the civil claims of the United States and LDEQ against the Applicable

Defendant(s) for violations of the PSD/NNSR Requirements resulting from construction or

modification from the date of the pre-Lodging construction or modification through the Date of

Lodging.

       I 05.   Resolution of Pre-Lodging Claims at the Covered Flares for Failing to Comply

with: (a) BTU/scf Flared Gas Requirements; (b) General Flare Requirements; (c) Good Air

Pollution Control Practice Requirements; and (d) Requirements Related to Monitoring,

Operation, and Maintenance According to Flare Design. With respect to emissions ofVOCs and


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HAPs from the Covered Flares, entry of this Consent Decree resolves the civil claims of the

United States and LDEQ against the Applicable Defendant(s) for violations of the following

requirements from the date those claims accrued until the Date of Lodging: a) BTU/scf Flared

Gas Requirements, b) General Flare Requirements, c) Good Air Pollution Control Practice

Requirements, and d) Requirements Related to Monitoring, Operation, and Maintenance

According to Flare Design.

       106. Resolution of Claims Continuing Post-Lodging for Failing to Comply with

Requirements Related to Monitoring, Operation, and Maintenance According to Flare Design

for all Covered Flares. With respect to emissions ofVOCs and HAPs from the Covered Flares,

entry of this Consent Decree resolves the civil claims of the United States and LDEQ against

the Applicable Defendant(s) for violations of Requirements Related to Monitoring, Operation,

and Maintenance According to Flare Design, but only to the extent that the claims are based on

the Defendants' use of too much steam in relation to Vent Gas flow. The resolution in this

Paragraph extends through the Effective Date for the Covered Flares.

       107. Resolution of Title V Violations. Entry of this Consent Decree resolves the civil

claims of the United States and LDEQ against the Applicable Defendant(s) for the violations of

Sections 502(a), 503(c), and 504(a) of the CAA, 42 U.S.C. §§ 7661a(a), 7661 b(c), 7661c(a),

and of 40 C.F.R. §§ 70.l(b), 70.5(a) and (b), 70.6(a) and (c), and 70.7(b), that are based upon

the violations resolved by Paragraphs 103-105 for the time frames set forth in those Paragraphs.

       108. Reservation of Rights - Resolution of Liability in Paragraphs 106-107 can be

Rendered Void. Notwithstanding the resolution of liability in Paragraphs 106-107, for the

period of time between the Date of Lodging and the post-lodging dates specified in Paragraph

106, those resolutions ofliability will be rendered void if the Applicable Defendant(s)


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materially fail to comply with any of the obligations and requirements of Section V

(Compliance Requirements) and Section VIII (Emission Credit Generation). To the extent that a

material failure involves a particular Covered Facility, the resolution ofliability will be

rendered void only with respect to claims involving that particular Covered Facility. The

resolutions of liability in Paragraphs 106-107 will not be rendered void if the Applicable

Defendant(s), as expeditiously as practicable, remedy such material failure and pay all

stipulated penalties due as a result of such material failure.

        109. The United States and LDEQ reserve all legal and equitable remedies available to

enforce the provisions of this Consent Decree. This Consent Decree will not be construed to

limit the rights of the United States or LDEQ to obtain penalties or injunctive relief under the

Clean Air Act, LEQA, or implementing regulations, or under other federal or state laws,

regulations, or permit conditions, except as specified in Paragraphs 103-106. The United States

and LDEQ further reserve all legal and equitable remedies to address any imminent and

substantial endangerment to the public health or welfare or the environment arising at, or posed

by, the Covered Facilities, whether related to the violations addressed in this Decree or

otherwise.

        110. In any subsequent administrative or judicial proceeding initiated by the United

States or LDEQ for injunctive relief, civil penalties, other appropriate relief relating to a

Covered Facility or Defendant' s(s ') violations, the Applicable Defendant(s) must not assert, and

may not maintain, any defense or claim based upon the principles of waiver, res judicata,

collateral estoppel, issue preclusion, claim preclusion, claim-splitting, or other defenses based

upon any contention that the claims raised by the United States or LDEQ in the subsequent




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proceeding were or should have been brought in the instant case, except with respect to claims

that have been specifically resolved pursuant to Paragraphs 103-106.

        111. This Consent Decree is not a permit, or a modification of any permit, under any

federal, state, or local laws or regulations. The Applicable Defendant(s) is(are) responsible for

maintaining compliance with all applicable federal, state, and local laws, regulations, and

permits; and the Applicable Defendant's(s') compliance with this Consent Decree is no defense

to any action commenced pursuant to any such laws, regulations, or pennits, except as set forth

herein. The United States and LDEQ do not, by their consent to the entry of this Consent

Decree, warrant or aver in any manner that the Applicable Defendant's(s') compliance with any

aspect of this Consent Decree will result in compliance with provisions of the Clean Air Act, 42

U.S.C. § 7401 et seq., LEQA, La.R.S. 30:2001 et seq., or with any other provisions of federal,

state, or local laws, regulations, or permits.

        112. This Consent Decree does not limit or affect the rights of the Applicable

Defendant(s) or of the United States or LDEQ against any third parties, not party to this Consent

Decree, nor does it limit the rights of third parties, not party to this Consent Decree, against the

Applicable Defendant(s), except as otherwise provided by law.

        113. This Consent Decree must not be construed to create rights in, or grant any cause

of action to, any third party not party to this Consent Decree.

                                            XV. COSTS

        114. The Parties must bear their own costs of this action, including attorneys' fees,

except that the United States and LDEQ are entitled to collect the costs (including attorneys'

fees) incurred in any action necessary to collect any portion of the civil penalty or any stipulated

penalties due but not paid by the Applicable Defendant(s).


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                     XVI. 26 U.S.C. § 162(f)(2)(A)(ii) IDENTIFICATION

        115. For purposes of the identification requirement of Section 162(f)(2)(A)(ii) of the

Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), performance of Section V (Compliance

Requirements), Paragraphs 18-32 and 34-47; Section VII (Permits), Paragraphs 57-58; Section

IX (Reporting Requirements), Paragraphs 63-67; Section XIII (Information Collection and

Retention), Paragraphs 97-100; Section II (Applicability), Paragraph 1O; and related Appendices

1.2-1.10 and 2.2 is restitution or required to come into compliance with law.

                                        XVII. NOTICES

       116. Unless otherwise specified in this Decree, whenever notifications, submissions, or

communications are required by this Consent Decree, they must be made in writing and

addressed as follows. Submission by first class mail or courier is required and will be sufficient

to comply with the notice requirements of this Consent Decree; however, for the submission of

technical information or data, the Applicable Defendant(s) must submit the data in electronic

fonn (viz., an optical disk, hard disk drive (HDD), solid state drive (SSD), or an approved flash

memory device). The email addresses listed below are to permit the submission of additional

electronic courtesy copies.

      As to the United States by email:      eescdcopy. enrd@usdoj.gov
                                             Re: DJ# 90-5-2-1-11114

                                             and as to EPA as set forth below.

      As to the United States by
      first-class mail:                      EES Case Management Unit
                                             Environment and Natural Resources Division
                                             United States Department of Justice
                                             P.O. Box 7611
                                             Washington, D.C. 20044-7611
                                             Re: DJ# 90-5-2-1-11114



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  As to the United States Attorney   United States Attorney
  by first-class mail:               Eastern District of Louisiana
                                     650 Poydras Street,
                                     Suite 1600
                                     New Orleans, LA 70130


  As to EPA by first-class mail:     Director, Air Enforcement Division
                                     Office of Civil Enforcement
                                     United States Environmental Protection Agency
                                     Mail Code 2242-A
                                     Regular Mail: 1200 Pennsylvania Ave, N.W.
                                     William Jefferson Clinton Building
                                     Room 1119
                                     Washington, DC 20460-0001
                                     Express Mail: Use same address but use 20004 as
                                     the zip code
  and
                                     Associate Director
                                     Air, Toxics, and Inspections Coordination
                                     Branch (6 EN-A)
                                     United States EPA, Region 6
                                     1201 Elm Street, Suite 500
                                     Dallas, Texas 75270-2102

  As to EPA by email:                parrish.robert@epa.gov
                                     foley.patrick@epa.gov
                                     stucky.maria@epa.gov

  As to LDEQ:                        Celena J. Cage
                                     Administrator, Enforcement Division
                                     Office of Environmental Compliance
                                     Louisiana Department of Environmental Quality
                                     P.O. Box 4312
                                     Baton Rouge, Louisiana 70821-4312
  and

                                     Dwana C. King
                                     Oscar Magee
                                     P.O. Box 4302
                                     Office of the Secretary, Legal Affairs Division
                                     Louisiana Department of Environmental Quality
                                     Baton Rouge, Louisiana 70821-4302

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       As to the Defendants:                  Rich A. Wells
                                              Vice President Operations U.S. Gulf Coast
                                              Site Director Texas Operations
                                              The Dow Chemical Company
                                              2301 N. Brazosport Blvd.
                                              Freeport, TX 77541

                                              Carlos J. Moreno
                                              Counsel, U.S. Operations, Regulatory & NA
                                              The Dow Chemical Company
                                              332 SH 332 E (4A016)
                                              Lake Jackson, TX 77566


        117. Any Party may, by written notice to the other Parties, change its designated notice

recipient or notice address provided above.

        118. Notices submitted pursuant to this Section will be deemed submitted upon

mailing, unless otherwise provided in this Consent Decree or by mutual agreement of the

Parties in writing.

                                  XVIII. EFFECTIVE DA TE

        119. The Effective Date of this Consent Decree is the date upon which this Consent

Decree is entered by the Court or a motion to enter the Consent Decree is granted, whichever

occurs first, as recorded on the Court's docket.

                            XIX. RETENTION OF JURISDICTION

        120. The Court retains jurisdiction over this case until termination of this Consent

Decree, for the purpose of: a) resolving disputes arising under this Decree pursuant to Section

XII, b) entering orders modifying this Decree pursuant to Section XX, and c) effectuating or

enforcing compliance with the terms of this Consent Decree.




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                                    XX. MODIFICATION

        121. Except as otherwise allowed in Paragraphs 14 and 117 (notice recipients and

addresses), the terms of this Consent Decree, including any attached appendices, may be

modified only by a subsequent written agreement signed by all the Parties. Where the

modification constitutes a material change to this Decree, it will be effective only upon approval

by the Court.

       122. Any disputes concerning modification of this Consent Decree must be resolved

pursuant to Section XII (Dispute Resolution), provided, however, that, instead of the burden of

proof provided by Paragraph 95, the Party seeking the modification bears the burden of

demonstrating that it is entitled to the requested modification in accordance with Federal Rule

of Civil Procedure 60(b).

                                    XXL TERMINATION

       123. Before seeking termination of the entire Consent Decree or the set of

requirements applicable to one or more Covered Facilities, the Applicable Defendant(s) must:

                a.   Pay the civil penalty and any accrued stipulated penalties as required by
                     this Consent Decree;

                b.   Satisfactorily comply with all provisions of Section V (Compliance
                     Requirements) applicable to the Covered Facility that is subject to the
                     termination request;

                c.   Operate for at least one year in satisfactory compliance with the
                     limitations and standards set forth in Paragraphs 38.e (availability of
                     FGRS compressors), 43.b (NHVcz standard), and 44 (98% Combustion
                     Efficiency) for all of the Covered Flares at the Covered Facility that is
                     subject to the termination request;

                d.   Complete the BEPs in Section VI;

                e.   Apply for and receive federally enforceable permits for the Hahnville and
                     Plaquemine Facilities issued pursuant to LDEQ's consolidated
                     preconstruction and Title V CAA permitting program, which incorporate

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                      the requirements set forth in Paragraph 58.c. The cited basis for the
                      incorporated requirements in the LDEQ's consolidated permit cannot be
                      this Consent Decree and will be the minor NSR authority to issue new
                      limits; and

               f.     Apply for and receive federally enforceable Non-Title V permits for the
                      Freeport and Orange Facilities incorporating the requirements set forth in
                      Paragraph 58.c. and submit applications to incorporate the requirements
                      set forth in Paragraph 58.c into a Title V operating permit for the Freeport
                      and Orange Facilities. The cited basis for the incorporated requirements
                      cannot be this Consent Decree and will be the federally enforceable non-
                      Title V permit.

        124. After the Applicable Defendant(s) believe they have satisfied the conditions for

termination set forth in the preceding Paragraph for either the entire Consent Decree or for one

or more of the Covered Facilities, the Applicable Defendant(s) may submit a request for

tennination to the United States by certifying such compliance in accordance with the

certification language in Paragraph 67 (Request for Termination). In the Request for

Termination, the Applicable Defendant(s) must demonstrate that it(they) have satisfied the

conditions for termination set forth in the preceding Paragraph, as well as submit all necessary

supporting documentation.

        125.   Following receipt by the United States, and LDEQ for the Hahnville and

Plaquemine Facilities, of the Applicable Defendant's(s' ) Request for Termination, the Parties

will confer informally concerning the request. If the United States, after consultation with

LDEQ for the Hahnville and Plaquemine Facilities, agrees that the Decree may be terminated,

the Parties will submit, for the Court's approval, a joint stipulation terminating the Decree.

       126. If the United States, after consultation with LDEQ for the Hahnville and

Plaquemine Facilities, does not agree that the Decree may be terminated, or if the Applicable

Defendant(s) do not receive a written response from the United States within ninety Days of the



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Applicable Defendant' s(s ') submission of the Request for Termination, the Defendants may

invoke dispute resolution under Section XII.

                               XXII. PUBLIC PARTICIPATION

        127. This Consent Decree will be lodged with the Court for a period of not less than

thirty Days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United

States reserves the right to withdraw or withhold its consent if the comments regarding the

Consent Decree disclose facts or considerations indicating that the Consent Decree is

inappropriate, improper, or inadequate. The Applicable Defendant(s) consent to entry of this

Consent Decree without further notice and agree not to withdraw from or oppose entry of this

Consent Decree by the Court or to challenge any provision of the Decree, unless the United

States has notified the Applicable Defendant(s) and LDEQ in writing that it no longer supports

entry of the Decree.

        128. The Parties agree and acknowledge that final approval by LDEQ and entry of this

Consent Decree are subject to the requirements of La. R.S. 30:2050.7, which provides for:

(a) public notice of this Consent Decree in the newspaper of general circulation and the official

journal of the parish in which the Hahnville and Plaquemine Facilities are located, (b) an

opportunity for public comment for a period of not less than forty-five Days and consideration

of any comments received, and (c) concurrence by the State Attorney General. LDEQ reserves

the right to withdraw or withhold consent if the comments regarding this Decree disclose facts

or considerations that indicate that this Decree is inappropriate, improper, or inadequate.

                               XXIII. SIGNATORIES/SERVICE

       129. Each undersigned representative of the Applicable Defendant(s), LDEQ, and the

Assistant Attorney General for the Environment and Natural Resources Division of the


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Department of Justice certifies that he or she is fully authorized to enter into the terms and

conditions of this Consent Decree and to execute and legally bind the Party or Parties he or she

represents to this document.

        130. This Consent Decree may be signed in counterparts, and its validity cannot be

challenged on that basis. The Applicable Defendant(s) agree to accept service of process by

mail with respect to all matters arising under or relating to this Consent Decree and to waive the

formal service requirements set forth in Rules 4 and 5 of the Federal Rules of Civil Procedure

and any applicable Local Rules of this Court including, but not limited to, service of a

summons.

                                      XXIV. INTEGRATION

        131. This Consent Decree constitutes the final, complete, and exclusive agreement and

understanding among the Parties with respect to the settlement embodied in the Decree and

supersedes all prior agreements and understandings, whether oral or written, concerning the

settlement embodied herein. Other than deliverables that are subsequently submitted and

approved pursuant to this Decree, the Parties acknowledge there are no representations,

agreements, or understandings relating to the settlement other than those expressly contained in

this Consent Decree.

                                    XXV. FINAL JUDGMENT

        132. Upon approval and entry of this Consent Decree by the Court, this Decree

constitutes a final judgment of the Court as to the United States, LDEQ, and the Applicable

Defendant( s).

                                       XXVI. APPENDICES

      133 .      The Appendices listed in the Tables of Appendices are attached to and part of this


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Consent Decree.


Dated and entered this_ Day of _ _ _ _ _ _ , 202




                                      UNITED STATES DISTRICT JUDGE
                                      EASTERN DISTRICT OF LOUISIANA




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THE UNDERSIGNED PARTIES enter into this Consent Decree entered in the matter of the United
States et al. v. The Dow Chemical Company et al. (E.D. LA.).


                                 FOR THE UNITED STATES OF AMERICA:


                                 Jonathan D. Brightbill
                                 Principal Deputy Assistant Attorney General
                                 Environment and Natural Resources Division
                                 United States Department of Justice



Attorney-in-Charge:               /s/ Kirk W. Koester
                                 Kirk W. Koester
                                 Trial Attorney
                                 Environmental Enforcement Section
                                 Environment and Natural Resources Division
                                 United States Department of Justice
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                                 Washington, DC 20044-7611
                                 202.514.9009 (direct)
                                 202.532.3272 (mobile)
                                 kirk.koester@usdoj.gov



                                 Peter G. Strasser
                                 United States Attorney
                                 Eastern District of Louisiana




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Case 2:21-cv-00114-MLCF-JVM Document 2-4 Filed 01/19/21 Page 20 of 30




THE UNDERSIGNED PARTIES enter into this Consent Decree entered in the matter of the United
States et al. v. The Dow Chemical Company et al. (E.D. LA.).

                                 FOR THE UNITED STATES ENVIRONMENTAL
                                 PROTECTION AGENCY:

                                                  Digitally signed by
                                  SUSAN           SUSAN BODINE
                                                  Date: 2020.10.05
                                  BODINE          10:38:53 -04'00'


                                 Susan Parker Bodine
                                 Assistant Administrator
                                 Office of Enforcement and Compliance Assurance
                                 United States Environmental Protection Agency
                                 1200 Pennsylvania Avenue, N.W.
                                 Washington, D.C. 20460



                                 Rosemarie A. Kelley
                                 Director, Office of Civil Enforcement
                                 United States Environmental Protection Agency
                                 1200 Pennsylvania Avenue, N.W.
                                 Washington, D.C. 20460




                                 Thomas P. Carroll
                                 Acting Director, Air Enforcement Division
                                 Office of Civil Enforcement
                                 United States Environmental Protection Agency
                                 1200 Pennsylvania Avenue, N.W.
                                 Washington, D.C. 20460




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Case 2:21-cv-00114-MLCF-JVM Document 2-4 Filed 01/19/21 Page 21 of 30




THE UNDERSIGNED PARTIES enter into this Consent Decree entered in the matter of the United
States et al. v. The Dow Chemical Company et al. (E.D. LA.).


                                 FOR THE UNITED STATES ENVIRONMENTAL
                                 PROTECTION AGENCY, REGION 6:


                                                         Digitall y sig ned by CHERYL SEAGER
                                            I\ ~         ON: c=US, o=U.S. Government, ou=Envi ronmental
                                           '-1 ~         Protection Ag ency, cn=CHERYL SEAGER,
                                                         0.9.2342.192003 00.1 00.1.1 =68001003651793
                                                         Date: 2020.09.21 11 :38:55 -05'00'



                                 Cheryl Seager
                                 Director - Compliance Assurance and Enforcement
                                 Division
                                 United States Environmental Protection Agency
                                 Region 6
                                 1201 Elm Street, Suite 500
                                 Dallas, Texas 75270-2102




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 Case 2:21-cv-00114-MLCF-JVM Document 2-4 Filed 01/19/21 Page 22 of 30




THE UNDERSIGNED PARTIES enter into this Consent Decree entered in the matter of the United
States et al. v. The Dow Chemical Company, et al. (E.D. LA.), subject to the public notice and
comment requirements of La. R.S. 30:2050.7.


                                   FOR THE LOUISIANA DEPARTMENT OF
                                   ENVIRONMENTAL QUALITY:




                                   Lourdes Iturralde
                                   Assistant Secretary
                                   Office of Environmental Compliance
                                   Louisiana Department of Environmental Quality
                                   P.O. Box 4312
                                   Baton Rouge, Louisiana 70821-4312




                                  Dwana C. King, Dept General Counsel
                                  (La. Bar #20590)
                                  Oscar Magee, Trial Attorney
                                  (La. Bar# 32302)
                                  Office of the Secretary, Legal Affairs Division
                                  Louisiana Department of Environmental Quality
                                  P.O. Box 4302
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                                  Phone: 225.219.3985
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THE UNDERSIGNED PARTIES enter into this Consent Decree entered in the matter of the United
States et al. v. The Dow Chemical Company et al. (E.D. LA.).


                                 FOR THE DOW CHEMICAL COMPANY:


                             1
                                 LdA w~
                                 Rich A. Wells
                                 Vice President Operations U.S. Gulf Coast
                                 Site Director Texas Operations
                                 The Dow Chemical Company
                                 2301 N. Brazosport Blvd.
                                 Freeport, TX 77541




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THE UNDERSIGNED PARTIES enter into this Consent Decree entered in the matter of the United
States et al. v. The Dow Chemical Company et al. (E.D. LA.).



                                 FOR UNION CARBIDE CORPORATION:



                             <ref A\~
                                 Rich A. Wells
                                 Vice President Operations U.S. Gulf Coast
                                 Site Director Texas Operations
                                 The Dow Chemical Company
                                 2301 N. Brazosport Blvd.
                                 Freeport, TX 77541




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THE UNDERSIGNED PARTIES enter into this Consent Decree entered in the matter of the United
States et al. v. The Dow Chemical Company et al. (E.D. LA.).



                                 FOR PERFORMANCE MATERIALS NA:




                                 Rich A. Wells
                                 Vice President Operations U.S. Gulf Coast
                                 Site Director Texas Operations
                                 The Dow Chemical Company
                                 2301 N. Brazosport Blvd.
                                 Freeport, TX 77541




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                          United States, et al.
                                   v.
                      Dow Chemical Company, et al




                 APPENDICES TO CONSENT DECREE




                    APPENDIX 1.2




 Calculating Combusion Efficiency, Net Heating Value of the
Combustion Zone Gas (Nhvcz), the Net Heating Value Dilution
      Parameter (Nhv dil), and Flare Tip Velocity (Vtip)
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                                        APPENDIX 1.2


      All abbreviations, constants, and variables are defined in the Key on Page 8 of this
Appendix.

Combustion Efficiency Equation:

               CE             [CO2]/([CO2] +[CO]+ [OCJ)
                        where:
                        [CO2] =       Concentration in volume percent or ppm-meters of
               carbon dioxide in the combusted gas immediately above the Combustion
               Zone
                        [CO] =        Concentration in volume percent or ppm-meters of
               carbon monoxide in the combusted gas immediately above the
               Combustion Zone
                        [OCJ =        Concentration in volume percent or ppm-meters of
               the sum of all organic carbon compounds in the combusted gas
               immediately above the Combustion Zone, counting each carbon molecule
               separately where the concentration of each individual compound is
               multiplied by the number of carbon atoms it contains before summing
               (e.g., 0.1 volume percent ethane will count as 0.2 percent OC because
               ethane has two carbon atoms)

For purposes of using the CE equation, the unit of measurement for CO2, CO, and OC must be
the same; that is, if "volume percent" is used for one compound, it must be used for all
compounds. "Volume percent" cannot be used for one or more compounds and "ppm-meters" for
the remainder.


Step 1: Determine the Net Heating Value of the Vent Gas (NHVvg)

The Company must determine the Net Heating Value of the Vent Gas (NHVvg) based on
composition monitoring data on a 15-minute block average basis according to the following
requirements. If the Company monitors separate gas streams that combine to comprise the total
vent gas flow to a Covered Flare, the 15-minute block average Net Heating Value will be
determined separately for each measurement location according to the following requirements
and a flow-weighted average of the gas stream Net Heating Values will be used to determine the
15-minute block average Net Heating Value of the cumulative Vent Gas. The NHVvg 15-minute
block averages must be calculated for set 15-minute time periods starting at 12 midnight to 12:15
AM, 12:15 AM to 12:30 AM and so on, concluding at 11:45 PM to midnight.

Step la: Equation or Output to be Used to Determine NHVvg at a Measurement Location

For any gas stream for which the Company complies with Paragraph 23 by collecting
compositional analysis data in accordance with the method set forth in 23.a: Equation 1 must be
used to determine the NHV vg of a specific sample by summing the Net Heating Value for each




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                                         APPENDIX 1.2

individual component by individual component volume fractions. Individual component Net
Heating Values are listed in Table 1 of this Appendix.
                                                 n
                                     NHVvg   =   L(xi. NHva
                                                 i=l
                                                                                        Equation 1


For any gas stream for which the Company complies with Paragraph 23 by collecting
direct Net Heating Value monitoring data in accordance with the method set forth in 23.b
but for which a Hydrogen Concentration Monitor is not used: Use the direct output
(measured value) of the monitoring system(s) (in BTU/set) to determine the NHVvg for the
sample.

For any gas stream for which the Company complies with Paragraph 23 by collecting
direct Net Heating Value monitoring data in accordance with the method set forth in 23.b
and for which a Hydrogen Concentration Monitor is also used: Equation 2 must be used to
determine the NHVvg for each sample measured via the Net Heating Value monitoring system.
Where hydrogen concentration data is collected, Equation 2 performs a net correction for the
measured heating value of hydrogen since the theoretical Net Heating Value for hydrogen is 274
Btu/scf, but for the purposes of this Consent Decree, a Net Heating Value of 1,212 Btu/scf may
be used (1,212 -274 = 938 BTU/set).

                               NHVvg    = NHVmeasured + 938xH2                         Equation 2



Step lb: Calculation Method to be Used in Applying Equation/Output to Determine NHVvg

For any Covered Flare for which the Company complies with Paragraph 23 by using a
continuous monitoring system in accordance with the method set forth in 23.a or 23.b: The
Company may elect to determine the 15-minute block average NHV vg using either the Feed-
Forward Calculation Method or the Direct Calculation Method (both described below). The
Company need not elect to use the same methodology at all Covered Flares with a continuous
monitoring system; however, for each such Covered Flare, the Company must elect one
calculation method that will apply at all times, and use that method for all continuously
monitored flare vent streams associated with that Covered Flare. If the Company intends to
change the calculation method that applies to a Covered Flare, the Company must notify the EPA
30 days in advance of such a change.

Feed-Forward Calculation Method. When calculating NHV vg for a specific 15-minute block:
Use the results from the first sample collected during an event (for periodic Vent Gas flow
events) for the first 15-minute block associated with that event.

If the results from the first sample collected during an event (for periodic Vent Gas flow events)
are not available until after the second 15-minute block starts, use the results from the first
sample collected during an event for the second 15-minute block associated with that event.




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                                         APPENDIX 1.2

           1. For all other cases, use the results that are available from the most recent sample
              prior to the 15-minute block period for that 15-minute block period for all Vent
              Gas streams. For the purpose of this requirement, use the time that the results
              become available rather than the time the sample was collected. For example, if a
              sample is collected at 12:25 AM and the analysis is completed at 12:38 AM, the
              results are available at 12:38 AM and these results would be used to determine
              compliance during the 15-minute block period from 12:45 AM to 1:00 AM.

       Direct Calculation Method. When calculating NHVvg for a specific 15-minute block:
          1. If the results from the first sample collected during an event ( for periodic Vent
              Gas flow events) are not available until after the second 15-minute block starts,
              use the results from the first sample collected during an event for the first 15-
              minute block associated with that event.

           2. For all other cases, use the arithmetic average of all NHV vg measurement data
              results that become available during a 15-minute block to calculate the 15-minute
              block average for that period. For the purpose of this requirement, use the time
              that the results become available rather than the time the sample was collected.
              For example, if a sample is collected at 12:25 AM and the analysis is completed at
              12:38 AM, the results are available at 12:38 AM and these results would be used
              to determine compliance during the 15-minute block period from 12:30 AM to
              12:45 AM.


Step 2: Determine Volumetric Flow Rates of Gas Streams

The Company must determine the volumetric flow rate in standard cubic feet (scf) of vent gas,
along with the volumetric flow rates (in scf) of any Supplemental Gas, Assist Steam, and Premix
Assist Air, over a 15-minute block average basis. The 15-minute block average volumetric flow
rates must be calculated for set 15-minute time periods starting at 12 midnight to 12:15 AM,
12: 15 AM to 12:30 AM and so on, concluding at 11 :45 PM to midnight.

For any gas streams for which the Company complies with Paragraph 20 by using a
monitoring system that directly records volumetric flow rate: Use the direct output
(measured value) of the monitoring system(s) (in scf), as corrected for the temperature and
pressure of the system to standard conditions (i.e., a temperature of 20 °C (68 °F) and a pressure
of 1 atmosphere) to then calculate the average volumetric flow rate of that gas stream for the 15-
minute block period.

For Vent Gas, Assist Steam, Premix Assist Air gas streams, or purge nitrogen for which the
Company complies with Paragraph 20 by using a mass flow monitor to determine
volumetric flow rate: Equation 3 must be used to determine the volumetric flow rate of Vent
Gas, Assist Air, or Assist Steam by converting mass flow rate to volumetric flow at standard
conditions (i.e., a temperature of 20 °C (68 °F) and a pressure of 1 atmosphere). Equation 3 uses
the molecular weight of the gas stream as an input to the equation; therefore, if the Company
elects to use a mass flow monitor to determine volumetric flow rate of Vent Gas, the Company



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                                              APPENDIX 1.2

must collect compositional analysis data for such Vent Gas in accordance with the method set
forth in 23.a. For assist steam, use a molecular weight of 18 pounds per pound-mole. For assist
air, use a molecular weight of 29 pounds per pound-mole. For purge nitrogen, use a molecular
weight of 28 pounds per pound-mole. The converted volumetric flow rates at standard conditions
from Equation 3 must then be used to calculate the average volumetric flow rate of that gas
stream for the 15-minute block period.


                                           Qmass   * 385.3
                                Qvol   =      MWt                                      Equation 3



For gas streams for which the molecular weight of the gas is known and for which the
Company complies with Paragraph 20 by using continuous pressure/temperature
monitoring system(s): Use appropriate engineering calculations to determine the average
volumetric flow rate of that gas stream for the 15-minute block period. For assist steam, use a
molecular weight of 18 pounds per pound-mole. For assist air, use a molecular weight of 29
pounds per pound-mole. For purge nitrogen, use a molecular weight of 28 pounds per pound-
mole. For Vent Gas, molecular weight must be determined by collecting compositional analysis
data for such Vent Gas in accordance with the method set forth in 21.a.

Step 3: Calculate the Net Heating Value of the Combustion Zone Gas (NHVcz)

For any Covered Flare at which: 1) the Feed-Forward Calculation Method is used; 2) gas
composition or Net Heating Value monitoring is performed in a location representative of
the cumulative vent gas stream; and 3) Supplemental Gas flow additions to the flare are
directly monitored: Equation 4 must be used to determine the 15-minute block average NHVcz
based on the 15-minute block average vent gas, supplemental gas, and assist gas flow rates.


                  (Qvg - QNG2   + QNc1) * NHVv + (QNGZ
                                     9                        - QNc1)   * NHVNc
          NHVcz =--'-----=------------'------=----------                              Equation 4
                                    Qvg + Qs + Qa,premix



For the first 15-minute block period of an event, QNci must use the volumetric flow value for the
current 15-rninute block period (i.e. QNci = QNcz). NHVNc must be determined using one of the
following methods: 1) direct compositional or Net Heating Value monitoring of the natural gas
stream in accordance with Step 1; or 2) for purchased (pipeline quality) natural gas streams, the
Company may elect to either: a) use annual or more frequent grab sampling at any one
representative location; orb) assume a Net Heating Value of920 BTU/scf.

For all other Covered Flares: Equation 5 must be used to determine the 15-rninute block
average NHVcz based on the 15-rninute block average vent gas and assist gas flow rates. For
periods when there is no Assist Stearn flow or Premix Assist Air flow, NHVcz = NHVvg-




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